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                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                    WACO DIVISION


 HANGER SOLUTIONS, LLC,                                 CIVIL ACTION NO. 6:22-cv-00070
     Plaintiff,
                                                           JURY TRIAL DEMANDED
 v.

 CHARTER COMMUNICATIONS, INC.,
     Defendant.



                                    ORIGINAL COMPLAINT

       Plaintiff HANGER SOLUTIONS, LLC (hereinafter, “Plaintiff” or “Hanger”), by and

through its undersigned counsel, files this Original Complaint for Patent Infringement against

Defendant CHARTER COMMUNICATIONS, INC., (hereinafter, “Defendant” or “Charter”)

alleging, based on its own knowledge as to itself and its own actions, and based on information

and belief as to all other matters, as follows:

                                   NATURE OF THE ACTION

       1.       This is a patent infringement action to stop Defendant’s infringement of the

following United States Patents (collectively, the “Patents-in-Suit”), copies of which are attached

hereto as Exhibit A, Exhibit B, and Exhibit C, respectively:

                 U.S. Patent No.                                Title
         A.         6,430,623        Domain Name Routing
                 (“’623 Patent”)
         B.         6,609,159        Methods, Systems, And Machine Readable Programming For
                 (“’159 Patent”)     Interposing Front End Servers Between Servers And Clients
         C.         6,772,227        Communicating Between Address Spaces
                 (“’227 Patent”)

       2.       Plaintiff seeks injunctive relief and monetary damages.
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                                              PARTIES

        3.       Hanger is a limited liability company organized and existing under the laws of the

State of Georgia and maintains its principal place of business at 44 Milton Avenue, Suite 254,

Alpharetta, Georgia, 30009 (Fulton County).

        4.       Based upon public information, Charter is a corporation duly organized and

existing under the laws of the state of Delaware since at least July 9, 2003.

        5.       Based upon public information, Charter has its principal place of business located

at 400 Atlantic Street, Stamford, Connecticut, 06901 (Fairfield County).

        6.       Defendant may be served through its registered agent, Corporation Service

Company d/b/a CSC- Lawyers Incorporating Service Company, 211 E. 7th Street, Suite 620,

Austin, Texas 78701.

                                  JURISDICTION AND VENUE

        7.       Hanger repeats and re-alleges the allegations in Paragraphs above as though fully

set forth in their entirety.

        8.       This action arises under the Patent Laws of the United States, 35 U.S.C. § 1 et seq.,

including 35 U.S.C. §§ 271, 281, 283, 284, and 285. This Court has subject matter jurisdiction

over this case for patent infringement under 28 U.S.C. §§ 1331 and 1338(a).

        9.       Spectrum Mobile, LLC (“Spectrum Mobile”) is a subsidiary of Charter and a

Delaware limited liability company with an address of 12405 Powerscourt Dr., Saint Louis, MO

63131-3673. Charter is the sole manager of Spectrum Mobile and has full authority to direct and

control it.

        10.      Spectrum Mobile Equipment, LLC (“Spectrum Mobile Equipment”) is a subsidiary

of Charter and a Delaware limited liability company with an address of 12405 Powerscourt Dr.,

Saint Louis, Missouri, 63131-3673. Charter is the sole manager of Spectrum Mobile Equipment



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and has full authority to direct and control it.

        11.     Spectrum Gulf Coast, LLC (“Spectrum Gulf Coast”) is a subsidiary of Charter and

a Delaware limited liability company with an address of 12405 Powerscourt Dr., Saint Louis,

Missouri, 63131-3673. Charter is the sole manager of Spectrum Gulf Coast and has full authority

to direct and control it.

        12.     Spectrum Management Holding Company, LLC (“Spectrum Management”) is a

subsidiary of Charter and a Delaware limited liability company with an address of 60 Columbus

Circle New York, New York 10023. Charter is the sole manager of Spectrum Management and

has full authority to direct and control it.

        13.     Charter Communications Holdings Company, LLC (“Charter Holdco”) (as

referenced in Charter's 10-K Securities and Exchange Commission filings from 2016-2020 10-K)

is upon information and belief is a subsidiary of Charter and has an address of 12405 Powerscourt

Dr Saint Louis, MO, 63131-3673.

        14.     Charter Communications Operating, LLC (“Charter Operating”) is a subsidiary of

Charter and a Delaware limited liability company with an address of 12405 Powerscourt Dr., Saint

Louis, Missouri, 63131-3673. Charter is the sole manager of Charter Operating and has full

authority to direct and control it.

        15.     Spectrum Mobile, Spectrum Mobile Equipment, Spectrum Gulf Coast, Spectrum

Management, Charter Holdco, and Charter Operating are collectively referred to as the “Agents.”

Upon information and belief, the Agents do business and/or are registered to do business as Charter

Communications, Inc. or Charter Communications with Charter’s consent, and they carry out the

business of Charter in, among other places, the Western District of Texas.

        16.     Upon information and belief, Charter has contracted with the Agents and/or Charter




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has the right to direct and control the Agents actions relevant to this operative complaint; Charter

has consented and assented to the Agents acting on its behalf; and the Agents have consented to

act on behalf of Charter.

        17.     The Court has personal jurisdiction over Charter because: Charter has minimum

contacts within the State of Texas and in this District; Charter, has purposefully availed itself of

the privileges of conducting business in the State of Texas and in this District; Charter has sought

protection and benefit from the laws of the State of Texas; Charter has established offices in the

State of Texas and is registered to do business the State of Texas; Charter regularly conducts

business within the State of Texas and within this District; and Plaintiff’s causes of action arise

directly from Charter’s business contacts and other activities in the State of Texas and in this

District.

        18.     Charter, directly and/or through its Agents and intermediaries, ships, distributes,

makes, uses, imports, offers for sale, sells, and/or advertises its products and services in the United

States, the State of Texas, and in this District.

        19.     Based upon public information, Charter solicits customers in the State of Texas and

in this District and has many paying customers who are residents of the State of Texas and this

District and who use its products in the State of Texas and in this District.

        20.     Upon information and belief, Charter, directly and/or through its Agents and

intermediaries, has regular and established places of business throughout this District where it

operates, sells, services, develops, designs, and/or markets and has operated, sold, serviced,

developed, designed, and/or marketed during the relevant period of infringement, one or more of

its infringing products at several facilities in this District, including at its facilities located at 215

Factory Dr., Waco, Texas 76710; 2720 West Loop 340, Waco, Texas 76711; 201 East Central




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Texas Expressway, Suite 645, Harker Heights, Texas 76548; 3034 S. 31st St., Temple, Texas

76502; 1325 George Dieter, Suites CE02 & CE03, El Paso, Texas 79936; 6510 North Mesa, El

Paso, Texas 79912; 7010 Airport Rd., El Paso, Texas 79906; 3151 SE Military Dr., Suite 101, San

Antonio, Texas 78223; 6301 NW Loop 410, San Antonio, Texas 78238; 11745 IH 10 West, Suite

410, San Antonio, Texas 78230; 1109 E 5th Street, Block 3, Austin, TX 78702; 1000 East 41st

Street, Suite 920, Austin, Texas 78751; 11920 Alterra Parkway, Suite 134, Austin, Texas 78758.

         21.        Upon information and belief, Charter, directly and/or through its Agents and

intermediaries, also maintains regular and established places of business in this District, including

by maintaining and operating communications networks in this District, including on cellular

towers and other installation sites owned or leased by Charter1 and by maintaining or controlling

a newsroom.2 Also, Charter is engaged in activities including: transacting business in this district

and purposefully directing its business activities, including the installation, maintenance, and use

of infringing products and other related technologies in this District, and the sale or offer for sale

of services and goods to this District to aid, abet, or contribute to the infringement of third parties

in this District.

           22.      Venue is proper in this district under 28 U.S.C. §§ 1391(b)-(d) and 1400(b) because

Charter, directly and/or through its Agents and intermediaries, has a number of regular and

established places of business in Texas and this District, and the allegations of infringement

involve actions within Texas and this District. See In re: Cray Inc., 871 F.3d 1355, 1362-1363


1
 Charter offers telecommunications services to “state and local government, public education, and
other public entities in Texas” through the Texas Department of Information Resources in Austin.
See e.g., https://dir.texas.gov/View-Search/Contracts-Detail.aspx?contractnumber=DIR-TEX-
AN-NG-CTSA-008. It also offers telecommunication services to customers in Waco, Texas. See
e.g., https://broadbandnow.com/Texas/Waco?zip=76710; https://broadbandnow.com/ Charter-
Communications.
2
    1708 Colorado St., Austin, TX 78701.


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(Fed. Cir. 2017). Charter is also registered to do business in the State of Texas, has offices in the

State of Texas, has transacted business in the Western District of Texas, and has committed acts

of direct and indirect infringement in the Western District of Texas.

                               BACKGROUND INFORMATION

       23.     The Patents-in-Suit were duly and legally issued by the United States Patent and

Trademark Office (hereinafter, the “USPTO”) after full and fair examinations.

       24.     Plaintiff is the owner of the Patents-in-Suit, and possesses all right, title and interest

in the Patents-in-Suit including the right to enforce the Patents-in-Suit, the right to license the

Patents-in-Suit, and the right to sue Defendant for infringement and recover past damages.

       25.     Plaintiff has at all times complied with the marking provisions of 35 U.S.C. § 287

with respect to the Patents-in-Suit.

       26.     Plaintiff does not sell, offer to sell, make, or use any products itself, so it does not

have any obligation to mark any of its own products under 35 U.S.C. § 287.

                        DEFENDANT’S PRODUCTS AND SERVICES

       27.     Based upon public information, Charter owns, operates, advertises, and/or controls

the websites www.charter.com, www.charter.net, spectrum.net, and www.spectrum.com through

which it advertises, sells, offers to sell, provides and/or educates customers about its products and

services, including its Spectrum Web Services and internet and external virtualized network

operations and IT infrastructure.

       28.     Based upon public information, Defendant provides sales information, training and

educational information, for its products.

               COUNT I: INFRINGEMENT OF U.S. PATENT NO. 6,430,623

       29.     Plaintiff re-alleges and incorporates by reference each of the paragraphs above.

       30.     U.S. Patent No. 6,430,623 (hereinafter, the “’623 Patent”), was issued on August



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6, 2002 after full and fair examination by the USPTO of Application No. 09/492,565 which was

filed on January 27, 2000. See Ex. A.

        31.      Based upon public information, Plaintiff is informed and believes that Defendant

has infringed one or more claims of the ’623 Patent, either literally or under the doctrine of

equivalents, because it ships distributes, makes, uses, imports, offers for sale, sells, and/or

advertises its “Spectrum Web Services” which provide a method of private network

communication between entities on at least www.spectrum.net.

        32.      Based upon public information, the Spectrum Web Services have infringed one or

more claims of the ’623 Patent, including Claim 1, because, through its Spectrum Web Services

because it provides a method for communicating with entities (domains on various web servers)

in a private network (LAN/VPN/DMZ/firewalled/etc.) that initiates communications (from outside

the private network via external device) with a first entity (domain) using a unique identifier

(URL, not an IP address) that is used below the application layer (transport layer), and where that

first entity (domain) is in the private network (e.g., private subnet), is an addressable physical

entity (web server) that does not have a globally unique address (e.g., using DMZ) and can

communicate messages (packets) toward said first entity (domain) that reach said first entity via

an intermediate entity (router) that has a first global address (IP address).

        33.      Defendant’s aforesaid activities have been without authority and/or license from

Plaintiff.

        34.      Plaintiff is entitled to recover from Defendant the damages sustained by Plaintiff as

a result of Defendant’s wrongful acts in an amount subject to proof at trial, which, by law, cannot

be less than a reasonable royalty, together with interest and costs as fixed by this Court under 35

U.S.C. § 284.




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               COUNT II: INFRINGEMENT OF U.S. PATENT NO. 6,609,159

       35.     Plaintiff re-alleges and incorporates by reference each of the paragraphs above.

       36.     U.S. Patent No. 6,609,159 (hereinafter, the “’159 Patent”), was issued on August

19, 2003 after full and fair examination by the USPTO of Application No. 09/201,303 which was

filed on November 30, 1998. See Ex. B.

       37.     Based upon public information, Plaintiff is informed and believes that Defendant

has infringed one or more claims of the ’159 Patent, either literally or under the doctrine of

equivalents, because it ships distributes, makes, uses, imports, offers for sale, sells, and/or

advertises its internal and external products using VMWare to virtualize its network operations

and IT infrastructure (“Spectrum Virtualized Environments”).

       38.     Upon information and belief, the Spectrum Virtualized Environments meet each

and every element of at least Claim 6 of the ’159 Patent, either literally or equivalently.

       39.     Based upon public information, the Spectrum Virtualized Environments have

infringed one or more claims of the ’159 Patent, including Claim 6, because it provides a method

for running an interposed dynamically-loaded library (virtual switches) linked to a back end server

(server with VMWare) in a given operating system space (VM Kernel); running a front end server

program (Guest OS Virtual Machine) loaded in the given operating system space (VM Kernel);

using the library to respond to standard operating system calls by the back end server, including

using the library to respond to an operating system call by the back end server to accept a

connection from a remote client (guest user on a back end server) by communicating the call and

its parameters to the font end server (Guest OS Virtual Machine) over a first pipe; using the front

end server to accept a connection from a remote client; using the front end server to communicate

a socket associated with the client connection to the library (via system socket activation); and

using the library to return program flow from the library's execution of the accept call back to the



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back end server with information specifying the socket received from the front end server in the

same format in which the operating system returns socket information in response to an accept

call..

         40.     Defendant’s aforesaid activities have been without authority and/or license from

Plaintiff.

         41.     Plaintiff is entitled to recover from Defendant the damages sustained by Plaintiff as

a result of Defendant’s wrongful acts in an amount subject to proof at trial, which, by law, cannot

be less than a reasonable royalty, together with interest and costs as fixed by this Court under 35

U.S.C. § 284.

                COUNT III: INFRINGEMENT OF U.S. PATENT NO. 6,772,227

         42.     Plaintiff re-alleges and incorporates by reference each of the paragraphs above.

         43.     U.S. Patent No. 6,772,227 (hereinafter, the “’227 Patent”), was issued on August

3, 2004 after full and fair examination by the USPTO of Application No. 10/147,442 which was

filed on May 16, 2002. See Ex. C. A Certificate of Correction was issued on June 5, 2007. See

id.

         44.     Based upon public information, Plaintiff is informed and believes that Defendant

has infringed one or more claims of the ’227 Patent, either literally or under the doctrine of

equivalents, because it ships distributes, makes, uses, imports, offers for sale, sells, and/or

advertises its “Spectrum Web Services” which provide a method communicating messages

between entities in different address spaces on at least www.spectrum.net

         45.     Based upon public information, Spectrum Web Services have infringed one or more

claims of the ’227 Patent, including Claim 1, because it provides a receiving a message (packet)

from a first entity in a first address space (e.g., 10.0.0.3), said message includes a destination

network address and an identification of a second entity (www.spectrum.net) in a second address



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space (53.71.37.188), said second entity does not have a routable address in said first address space

(e.g., using DMZ); determining a destination address in said second address space for said message

based on said identification; and sending said message to a destination using said destination

address (e.g., using SNI routing) in said second address space (e.g., DMZ).

        46.        Defendant’s aforesaid activities have been without authority and/or license from

Plaintiff.

        47.        Plaintiff is entitled to recover from Defendant the damages sustained by Plaintiff as

a result of Defendant’s wrongful acts in an amount subject to proof at trial, which, by law, cannot

be less than a reasonable royalty, together with interest and costs as fixed by this Court under 35

U.S.C. § 284.

                                            JURY DEMAND

        48.        Plaintiff demands a trial by jury on all issues.

                                        PRAYER FOR RELIEF

        49.        Plaintiff respectfully requests the following relief:

              A.      An adjudication that one or more claims of the Patents-in-Suit has been

                      infringed, either literally and/or under the doctrine of equivalents, by Hanger;

              B.      An award of damages to be paid by Hanger adequate to compensate Plaintiff

                      for Hanger’s past infringement, including interest, costs, and disbursements as

                      justified under 35 U.S.C. § 284 and, if necessary to adequately compensate

                      Plaintiff for Hanger’s infringement, an accounting of all infringing sales

                      including, but not limited to, those sales not presented at trial;

              C.      That this Court declare this to be an exceptional case and award Plaintiff its

                      reasonable attorneys’ fees and costs in accordance with 35 U.S.C. § 285; and,

              D.      Any further relief that this Court deems just and proper.



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Dated: January 18, 2022                 Respectfully submitted,

                                        /s/ James F. McDonough, III
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                     ATTORNEYS FOR PLAINTIFF Hanger Solutions, LLC

* admitted to W.D. Tex.
** admission pro hac vice anticipated




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